Case 2:23-cv-00936-AMA-CMR   Document 119-5   Filed 02/27/25   PageID.945   Page
                                   1 of 7
Case 2:23-cv-00936-AMA-CMR                  Document 119-5             Filed 02/27/25           PageID.946   Page
                                                  2 of 7




                        QD          BO
                                    MILLCREEK
                                            |                                      Colliers
                                    COMMERCIAL

                      Advance Care Medical | Naperville, IL




The Tenant in Common (TIC) interests sold by Millcreek Commercial Properties constitute interests in
real property. They do not constitute securities. Consequently, federal and state laws regulating the sale
of securities do not apply with respect to the sale of TIC interests, and purchases of TIC interests will
not be entitled to the protection afforded to purchasers of securities under federal and state
securities laws. Nothing in the attached offering documents should be construed as an offer or a
solicitation of an offer to buy or sell securities.




                  Office: 801.899.1943 | www.MILLCREEKCOMMERCIAL.com
                     Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT




                                                                                                      DEF 000302
 Case 2:23-cv-00936-AMA-CMR                              Document 119-5                Filed 02/27/25             PageID.947          Page
                                                               3 of 7


                                                                                 Advance Care Medical | Naperville, IL



Property Information
Tenant                   Advance Care Medical
Location                 2975 Showplace Dr., Naperville, IL 60564
Property Type            Freestanding, Medical
Building Size            3,500 Square Feet
Purchase Price           $5,078,231.42
Cap Rate                 6.00%

                                                                               Lease Information
Advance Care’s mission and business strategy is to provide better,
more consistent, comprehensive care solutions by vertically                    Lease Guarantor        Healthcare Solutions Holdings Inc
integrating urgent care facilities with ancillary services and new             Initial Lease Term     20 years
technologies. The intended outcome is to provide a broader
continuum of patient care at a lower cost and generate                         Rent Increases         2% increases every year
significantly higher operating margins.                                        Renewal Options        Two 5-year options
                                                                               20 Yr. Avg. Return     7.25%
Naperville, IL
                                                                                Year         Gross Rent          Net Rent          Cap Rate
Naperville Crossings is situated at the Northwest Corner of Route 59
and 95th Street in the heart of South Naperville’s retail corridor. Lot sits    2021            $323,866.85      $ 317,389.46      6.00%
as an outparcel to AMC Showplace 16 which boasts over 750,000
visitors per year. Tapestry of Naperville, a 300-unit residential project,      2022            $330,344.19      $ 323,737.25      6.12%
is adjacent to center. There is ample parking available and multiple                                                               6.24%
                                                                                2023            $336,951.07      $ 330,212.00
points of access via Route 59 or 95th Street.
                                                                                2024            $343,690.09      $ 336,816.24      6.36%
About Tenant In Common                                                                                                             6.48%
                                                                                2025            $350,563.89      $ 343,552.56
Tenant in common or TIC ownership allows two or more people to hold             2026            $357,575.17      $ 350,423.61      6.6%
an ownership interest in a property. Each property owner or business
entity holds its own separate stake in the property and receives a deed.        2027            $364,726.68      $ 357,432.09      6.73%
Their interests do not have to be equal.                                                                                           6.86%
                                                                                2028            $372,021.21      $ 364,580.73
This Millcreek Commercial property has the following characteristics:           2029            $379,461.63      $ 371,872.34      6.99%

                                                                                2030            $387,050.87      $ 379,309.79      7.13%
• Property is offered debt-free
• Long-term, corporate-guaranteed lease                                         2031            $394,791.88      $ 386,895.99      7.27%
• Satisfies IRS requirements for 1031 exchanges
                                                                                2032            $402,687.72      $ 394,633.91      7.42%

                                                                                2033            $410,741.48      $ 402,526.58      7.57%

                                                                                2034            $418,956.30      $ 410,577.12      7.72%

                                                                                2035            $427,335.43      $ 418,788.66      7.87%

                                                                                2036            $435,882.14      $ 427,164.43      8.02%

                                                                                2037            $444,599.78      $ 435,707.72      8.18%

                                                                                2038            $453,491.78      $ 444,421.87      8.34%

                                                                                2039            $462,561.61      $ 453,310.31      8.51%
Office | 801.899.1943
                                                                                2040            $471,812.85      $ 462,376.52      8.68%
www.MILLCREEKCOMMERCIAL.com


                              Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT


                                                                                                                            DEF 000303
 Case 2:23-cv-00936-AMA-CMR                         Document 119-5                Filed 02/27/25           PageID.948             Page
                                                          4 of 7




2
ar
QD      MILLCREEK                                                          Advance Care Medical | Naperville, IL
 SsCOMMERCIAL




Advance Care Medical
Largest Network: Development of 350 Comprehensive Care Centers will create the most extensive branded system in the country.

Significant Margins: By vertically integrating, they will capture revenue and margins that have historically been “lost” in the channel to
sales, marketing, and third-party providers. This will result in significantly enhanced operating margins.

Building a Brand: A key element to their strategy is to acquire reputable family practice to establish themselves in each community
they target. Clusters of facilities will provide better access and more consistent care to patients in their system.

New Technologies: They intend to use new technologies and more comprehensive diagnostic capabilities to improve patient care
and access and to give their medical teams more tools to provide superior care.


Backed By Strength
Healthcare Solutions Holdings, Inc. “HSH” is a publicly-traded medical service and device company focused on providing clinicians
with state-of-the-art diagnostic and therapeutic tools. HSH’s mission is to provide clinicians with broader access to the most
advanced technologies in the Healthcare Industry. Technology proliferation drives progressive methods of testing patients, leading
to superior patient outcomes.

HSH not only helps physicians deliver better healthcare but also assists them in remaining compliant with industry best practices.


The Tenant of Your Dreams
Millcreek Commercial is developing properties specifically for Advance Care Medical. ACM, in cooperation with Healthcare Solutions
Holdings, Inc. (HSH), meets our pillars for success. With each property, ACM will sign a 20-year NNN lease with 2% rent escalations
annually, all backed by an HSH corporate guarantee and insured by Lloyds of London.




                           Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT


                                                                                                                     DEF 000304
 Case 2:23-cv-00936-AMA-CMR                          Document 119-5                 Filed 02/27/25         PageID.949             Page
                                                           5 of 7


                                                                           Advance Care Medical | Naperville, IL




Naperville, IL
Located 28 miles west of Chicago, Naperville, IL consistently ranks as a top community in the nation in which to live, raise children
and retire. This vibrant, thriving city is home to acclaimed public and parochial schools, the best public library system in the country,
world-class parks, diverse worship options, an array of healthcare options and an exceptionally low crime rate. Naperville has ready
access to a variety of public transportation, housing and employment options. The city’s diversified employer base features high
technology firms, retailers and factories, as well as small and home-based businesses. With all the amenities of a modern city and all
the charm of a small town, Naperville truly is the premiere community in which to live, work and play.




       •    The current population estimate is 148,000                          •    Owner Occupied: 75.4%
       •    Median Age: 35 years                                                •    Renter Occupied: 24.6%
       •    Median Household Income is $109,512                                 •    Median Home Price: $377,900
       •    Total Households: 53,408                                            •    Median Rental Rate: $1,290




In just half a century, the City of Naperville has grown from a prairie town of fewer than 10,000 people to a bustling city of 148,000
residents that is home to everything from family businesses and a scenic Riverwalk to international corporations and regional
transportation networks.




                            Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT


                                                                                                                     DEF 000305
Case 2:23-cv-00936-AMA-CMR                  Document 119-5                  Filed 02/27/25   PageID.950   Page
                                                  6 of 7


                             Colliers
                             _DnsRyton ye                             Advance Care Medical | Naperville, IL




             As)

      PEge] ©PNCBANK bead
        am




                                                                            _|citi-
                                                    a                          a
                                                        FIVE Guys
                                                        BURGERS and FRIES




                                                   MINT tS
                                    RE
                                    me
                                  Kenosha




                                 ACM



                                                                  Muskegon

                                              Holland
                                              we




               Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT


                                                                                                  DEF 000306
Case 2:23-cv-00936-AMA-CMR               Document 119-5             Filed 02/27/25          PageID.951    Page
                                               7 of 7


                                                              Advance Care Medical | Naperville, IL



         Lease Abstract

         Tenant                                    Advance Care Medical

         Guarantor                                 Healthcare Solutions Holdings Inc
         Address                                   2975 Showplace Dr., Naperville, IL 60564
         Building Size (SF)                        3,500 SF
         Year Built                                Anticipated completion late 2020
         Rent Commencement                         Anticipated late 2020
         Lease/Rent Expiration                     2040
         Lease Term Remaining                      20 Years
         Annual Base Rent                          $ 317,389.46
         Rental Increases                          2% annually
         Renewal Options                           Two five-year options
         Renewal Notice                            6 months
         Option Increases                          Yes
         Lease Type                                Absolute NNN bonded
         Landlord Responsibilities                 Zero
         Insurance/Taxes/CAM/Utilities             Tenant
         ROFO                                      No
         Estoppel                                  As needed
         Default Bond                              1 year of rent payments if in the first 48 months
         Ownership Interest                        Fee simple estate




                                                  Millcreek Commercial
           Colliers
           INTERNATIONAL
                                                  801.899.1943 | contact@millcreekcommercial.com




                  Millcreek Commercial | 2100 S Pleasant Grove Blvd. Ste 200, Pleasant Grove, UT


                                                                                                   DEF 000307
